Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 1 of 21



                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                              CASE NO.:

  PAULINA B. MOODIE,
  and other similarly situated individuals,

          Plaintiff(s),
  v.

  NOAH RESTAURANT LLC,
  d/b/a SANTORINI GREEK RESTAURANT
  and CHRISTOS MAMMAS, individually,

        Defendants,
  ____________________________________/

                                   VERIFIED COMPLAINT
                            (OPT-IN PURSUANT TO 29 U.S.C § 216(b))

          COMES NOW the Plaintiff PAULINA B. MOODIE and other similarly situated

  individuals, by and through the undersigned counsel and hereby sues Defendants NOAH

  RESTAURANT LLC, d/b/a SANTORINI GREEK RESTAURANT, and CHRISTOS

  MAMMAS, individually and alleges:

                             JURISDICTION VENUES AND PARTIES

       1. This is an action to recover money damages for unpaid minimum and overtime wages

          under the laws of the United States. This Court has jurisdiction pursuant to the Fair

          Labor Standards Act, 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement)

          (“the Act”).

       2. Plaintiff PAULINA B. MOODIE is a resident of Miami-Dade County, Florida, within the

          jurisdiction of this Honorable Court. Plaintiff is a covered employee for purposes of the




                                              Page 1 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 2 of 21



        Act. Plaintiff PAULINA B. MOODIE consents to be a party in this action by signing this

        verified complaint.

     3. Defendant NOAH RESTAURANT LLC, d/b/a SANTORINI GREEK RESTAURANT,

        (hereinafter, SANTORINI GREEK RESTAURANT) is a Florida corporation, having its

        main place of business in Miami-Dade County, Florida, where Plaintiff worked for

        Defendant. At all times material hereto, Defendant was and is engaged in interstate

        commerce.

     4. The individual Defendant CHRISTOS MAMMAS was and is now the General Manager

        of NOAH RESTAURANT LLC, d/b/a SANTORINI GREEK RESTAURANT. This

        individual Defendant was the employer of Plaintiff within the meaning of Section 3(d) of

        the “Fair Labor Standards Act” [29 U.S.C. § 203(d)].

     5. All the actions raised in this complaint took place in Miami-Dade County, Florida, within

        the jurisdiction of this Court.

                                      GENERAL ALLEGATIONS

     6. Defendant NOAH RESTAURANT LLC is a retail business operating as a Greek

        restaurant. Defendant operates under the name of SANTORINI GREEK RESTAURANT

        located at 101 Ocean Drive, Miami Beach 33139.

     7. Defendants SANTORINI GREEK RESTAURANT and the individual Defendant

        CHRISTOS MAMMAS employed Plaintiff PAULINA B. MOODIE from September 24,

        2018, to June 19, 2019, or 38 weeks.

     8. Plaintiff was hired as a non-exempted, full time, hourly bartender. Plaintiff was a tipped

        employee earning the minimum wage for tipped employees, or $5.23 an hour in 2018,

        and $5.44 an hour in 2019, plus earned tips.



                                           Page 2 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 3 of 21



     9. Plaintiff had an irregular schedule and within the 7 months of low season (April, May,

        June, July, August, September, and October), she worked 5 days per week. During the 5

        months of high season (November, December January, February, and March), Plaintiff

        worked 6 days per week.

     10. In low season, Plaintiff worked 5 days per week, she had Mondays and Tuesdays off.

        Usually on Wednesdays Plaintiff worked from 5:00 PM to 12:30 AM (7.5 hours); on

        Thursdays and Fridays Plaintiff worked from 5:00 PM to 1:00 AM (8 hours each day); on

        Saturdays Plaintiff worked from 3:00 PM to 1:00 AM (10 hours); and on Sundays

        Plaintiff worked from 4:00 PM to 1:00 AM (9 hours). Plaintiff completed 42.5 working

        hours every week. Plaintiff was not able to take any bona-fide lunch break.

     11. In high season, Plaintiff worked 6 days per week. The plaintiff maintained the same

        schedule, but she worked on Tuesdays from 5:00 PM to 12:30 AM (7.5 hours). Plaintiff

        completed a minimum of 50 hours every week.

     12. Consequently, during her employment with Defendants Plaintiff worked 16 weeks in the

        low season an average of 42.5 hours every week; and 22 weeks in high season, an

        average of 50 hours every week.

     13. During her time of employment with Defendants, Plaintiff worked regularly in excess of

        40 hours every week. However, in many weeks Plaintiff was paid less than 40 regular

        hours and she was not paid for all her overtime hours.

     14. Plaintiff worked a minimum of 42.5 hours in low season and a minimum of 50 hours in

        high season. However, Plaintiff was not paid for all her overtime hours. Sometimes

        Plaintiff was paid only a fraction of her overtime hours.




                                           Page 3 of 19


                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 4 of 21



     15. Moreover, when the Defendant paid some overtime hours to Plaintiff, they unlawfully

        calculated Plaintiff’s overtime rate on the direct minimum cash wage, not on the full

        minimum wage as provided by the FLSA.

     16. Thus, Plaintiff is owed the overtime difference for every overtime hour paid to her at the

        incorrect rate, plus full overtime payment for every hour that was not paid to her at any

        rate, not even the minimum wage rate as required by the Fair Labor Standards Act.

     17. Plaintiff was paid bi-weekly with checks and paystubs that most of the weeks reflected

        less than the real number of regular and overtime hours worked.

     18. Plaintiff clocked in and out, and Defendants were able to track the real number of hours

        worked by Plaintiff and other similarly situated individuals.

     19. Therefore, Defendants willfully failed to pay Plaintiff minimum wages for regular wages

        and overtime hours at the rate of time and a half her regular rate, for every hour that he

        worked in excess of forty (40), in violation of Section 7 (a) of the Fair Labor Standards

        Act of 1938 (29 U.S.C. 207(a)(1).

     20. Plaintiff disagreed with the number of regular and overtime hours paid to her, the

        unauthorized deductions, and she complained to the manager multiple times.

     21. On or about June 19, 2019, Plaintiff was fired by manager CHRISTOS MAMMAS, due

        to discriminatory reasons. Plaintiff is in the process of filing her Charge of

        Discrimination with the Equal Employment Opportunity Commission (EEOC).

     22. At this time, Plaintiff is not in possession of time and payment records, and without the

        benefit of the discovery, it is impossible for her to make exact calculations about the

        number of wages owed to her. Nevertheless, Plaintiff is going to provide a good faith

        estimate based on her recollections. Plaintiff will calculate the total amount that she



                                            Page 4 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 5 of 21



        should have been paid for all the weeks that she worked with Defendants, after

        production of time and payment records, Plaintiff will deduct the wages already paid to

        her.

     23. Plaintiff seeks to recover unpaid regular hours, the difference of O/T rate for overtime

        hours paid, and full overtime payment for hours that were not paid to her at any rate

        which were accumulated during her employment with Defendant SANTORINI GREEK

        RESTAURANT, plus liquidated damages and any other relief as allowable by law.

     24. The additional persons who may become Plaintiffs in this action are employees and/or

        former employees of Defendants who are and who were subject to the unlawful payroll

        practices and procedures of Defendants, that resulted in minimum wages violations and

        non-payment for hours worked in excess of 40 in a week period.

                                 COUNT I:
     F.L.S.A. WAGE AND HOUR FEDERAL STATUTORY VIOLATION: FAILURE TO
                PAY MINIMUM WAGE; AGAINST ALL DEFENDANTS

     25. Plaintiff PAULINA B. MOODIE re-adopts every factual allegation as stated in

        paragraphs 1-24 of this complaint as if set out in full herein.

     26. This action is brought by Plaintiff PAULINA B. MOODIE to recover from the Employer

        unpaid minimum wages, as well as an additional amount as liquidated damages, costs,

        and reasonable attorney’s fees under the provisions of 29 U.S.C. § 201 et seq., and

        specifically under the provisions of 29 U.S.C. §206. U.S.C. §206 states “Every employer

        shall pay to each of his employees who in any workweek is engaged in commerce or in

        the production of goods for commerce, or is employed in an enterprise engaged in

        commerce or in the production of goods for commerce, wages at the following rates:

         (1) except as otherwise provided in this section, not less than—



                                            Page 5 of 19


                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 6 of 21



               (A) $5.85 an hour, beginning on the 60th day after May 25, 2008;

               (B) $6.55 an hour, beginning 12 months after that 60th day; and

               (C) $7.25 an hour, beginning 24 months after that 60th day.

     27. Defendant SANTORINI GREEK RESTAURANT was and is engaged in interstate

        commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A).

        The defendant is a retail business operating as a Greek restaurant, Defendant catered

        mostly to tourists. The defendant had more than two employees recurrently engaged in

        commerce or in the production of goods for commerce by regularly and recurrently using

        the instrumentalities of interstate commerce to accept and solicit funds from non-Florida

        sources; by using electronic devices to authorize credit card transactions by ordering

        product and supplies produced out of State. Upon information and belief, the annual

        gross revenue of the Employer/Defendant was always in excess of $500,000 per annum.

        Defendant’s business activities involve those to which the Fair Labor Standards Act

        applies. Therefore, there is FLSA enterprise coverage.

     28. Plaintiff and those similarly situated were employed by an enterprise engaged in

        interstate commerce. Particularly, Plaintiff was a bartender that on regular basis initiated

        and completed credit card transactions. Plaintiff handled and worked on goods and

        materials that were produced for commerce and were moved across State lines at any

        time in the course of business. Therefore, there is individual coverage.

     29. By reason of the foregoing, Defendant SANTORINI GREEK RESTAURANT was

        required to comply with the mandates of the FLSA, as it applied to Plaintiff and other

        similarly situated individuals.




                                           Page 6 of 19


                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 7 of 21



     30. Defendants SANTORINI GREEK RESTAURANT and the individual Defendant

        CHRISTOS MAMMAS employed Plaintiff PAULINA B. MOODIE from September 24,

        2018, to June 19, 2019, or 38 weeks.

     31. Plaintiff was hired as a non-exempted, full time, hourly bartender. Plaintiff was a tipped

        employee earning the minimum wage for tipped employees, or $5.23 an hour in 2018,

        and $5.44 an hour in 2019, plus earned tips.

     32. Plaintiff had an irregular schedule and within the 7 months of low season (April, May,

        June, July, August, September, and October), she worked 5 days per week. During the 5

        months of high season (November, December January, February, and March), Plaintiff

        worked 6 days per week.

     33. In low season, Plaintiff worked 5 days per week from Wednesday to Sundays minimum

        an average of 42.5 hours every week, the Plaintiff was unable to take bona fide lunch

        breaks.

     34. In high season, Plaintiff worked 6 days per week. The plaintiff maintained the same

        schedule, but she worked on Tuesdays from 5:00 PM to 12:30 AM (7.5 hours). Plaintiff

        completed a minimum average of 50 hours every week.

     35. Accordingly, during her employment with Defendants Plaintiff worked in low season 16

        weeks with an average of 42.5 hours every week; and in high season 22 weeks with an

        average of 50 hours every week.

     36. During her employment time as a bartender, Plaintiff was a tipped employee who was

        paid the mandatory minimum wage for tipped employees, plus tips.

     37. Every week, Plaintiff worked in excess of 40 hours every week, but she was not paid for

        all her regular hours. In many weeks Plaintiff was paid for less than 40 regular hours and



                                           Page 7 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 8 of 21



        at the incorrect rate. There is a substantial number or regular hours that were not paid to

        Plaintiff at any rate, not even the minimum wage rate for tipped employees as required by

        the Fair Labor Standards Act.

     38. Plaintiff was paid bi-weekly with checks and paystubs that most of the weeks reflected

        less than the real number of regular and overtime hours worked.

     39. Plaintiff clocked in and out, and Defendants were able to track the real number of hours

        worked by Plaintiff and other similarly situated individuals.

     40. At all times material hereto, the Employer failed to comply with title §§ 201-219 and 29

        C.F.R. § 516.2, § 516.4, 531.52, and § 531.59 et seq. In that, Plaintiff was not paid the

        required minimum wage as required by the FLSA.

     41. The records, if any, concerning the number of hours worked by Plaintiff and all other

        employees, and the compensation paid to such employees should be in the possession and

        custody of Defendant. However, upon information and belief, Defendant did not

        maintain accurate and complete time records of hours worked by Plaintiff and other

        employees in the asserted class.

     42. Defendant violated the record keeping requirements of FLSA, 29 CFR Part 516.

     43. Upon information and belief, Defendant never posted any notice, as required by the Fair

        Labor Standards Act and Federal Law, to inform employees of their Federal rights to

        overtime and minimum wage payments. Defendant violated the Posting requirements of

        29 U.S.C. § 516.4.

     44. Prior to the completion of discovery and to the best of Plaintiff PAULINA B. MOODIE’s

        knowledge, at the time of the filing of this complaint, Plaintiff’s good faith estimate of

        unpaid wages are as follows:



                                           Page 8 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 9 of 21



       *Pending to discovery, please note that these are preliminary calculations that will be.
       adjusted after proper discovery.
        *Florida minimum wage is higher than Federal minimum wage. As per FLSA
         regulations, the higher minimum wage applies.

           a. Total amount of alleged unpaid wages:

               Eight Thousand One Hundred Fifty-One Dollars and 20/100 ($8,151.20)

           b. Calculation of such wages:

               Total number of Relevant weeks: 38 weeks

               1.- 2018 Unpaid minimum wages at Fl. Min. wage/tipped employees

                   i.   Low season /From September 24 to October 31, 2018=5 weeks

                        Total relevant weeks: 5 weeks
                        Total regular hours worked: 40 regular hours
                        Regular rate: $5.23 Fl. min. wage rate for tipped employees

                        $5.23 FL min. wage rate x 40 regular hours weekly= $209.20 x 5
                        Weeks = $1,046.00

                 ii.    High season/From November 01 to December 31, 2018=9 weeks

                        Total relevant weeks: 9 weeks
                        Total regular hours worked: 40 regular hours
                        Regular rate: $5.23 Florida min. wage rate for a tipped employee

                        $5.23 FL min. wage rate x 40 regular hours weekly=$209.20 x 9
                        Weeks = $1,882.80

               2.- 2019 Unpaid minimum wages at Fl. Min. wage/tipped employees

                  i.    High season from January 01 to March 31, 2019=13 weeks

                        Total relevant weeks: 13 weeks
                        Total regular hours worked: 40 regular hours
                        Regular rate: $5.44 Florida minimum wage rate for tipped employees

                        $5.44 FL min. wage rate x 40 regular hours weekly = $217.60 x 13
                        Weeks = $2,828.80

                 ii.    Low season from April 01 to June 19, 2019=11 weeks



                                           Page 9 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 10 of 21



                         Total relevant weeks: 11 weeks
                         Total regular hours worked: 40 regular hours
                         Regular rate: $5.44 Florida minimum wage rate for tipped employees.

                         $5.44 FL min. wage rate x 40 regular hours weekly = $217.60 x 11
                          Weeks = $2,393.60

                 Total 1 and 2: $8,151.20

             c. Nature of wages:

                This amount represents the unpaid minimum wages at Florida rate.

     45. Therefore, Defendants unlawfully failed to pay minimum wages to the Plaintiff for the

        hours and relevant time periods specified above.

     46. Defendant SANTORINI GREEK RESTAURANT and CHRISTOS MAMMAS knew

        and/or showed reckless disregard of the provisions of the Act concerning the payment of

        minimum wages as required by the Fair Labor Standards Act and remain owing Plaintiff

        PAULINA B. MOODIE and those similarly-situated these minimum wages since the

        commencement of Plaintiff and those similarly-situated employee’s employment with

        Defendant as set forth above, and Plaintiff and those similarly-situated are entitled to

        recover double damages.

     47. At the times mentioned, individual Defendant CHRISTOS MAMMAS, was the manager

        of   Defendant     Corporation   SANTORINI          GREEK     RESTAURANT,        Defendant

        CHRISTOS MAMMAS was the employer of Plaintiff within the meaning of Section 3(d)

        of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. This individual Defendant acted

        directly in the interest of the corporation SANTORINI GREEK RESTAURANT in

        relation to its employees including Plaintiff. Defendant CHRISTOS MAMMAS had

        financial and operational control of the business, provided the Plaintiff with her work

        schedule, and he is jointly and severally liable for Plaintiff’s damages.

                                            Page 10 of 19


                                                                Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 11 of 21



      48. Defendants SANTORINI GREEK RESTAURANT, and CHRISTOS MAMMAS,

          willfully and intentionally refused to pay Plaintiff PAULINA B. MOODIE minimum

          wages as required by the law of the United States and remain owing Plaintiff these

          minimum wages since the commencement of Plaintiff’s employment with Defendants as

          set forth above.

      49. Plaintiff PAULINA B. MOODIE has retained the law offices of the undersigned attorney

          to represent her in this action and is obligated to pay a reasonable attorneys’ fee.

                                          PRAYER FOR RELIEF

   WHEREFORE, Plaintiff PAULINA B. MOODIE and those similarly situated respectfully

   request that this Honorable Court:

         A. Enter judgment for Plaintiff and other similarly situated individuals and against the

             Defendants SANTORINI GREEK RESTAURANT, and CHRISTOS MAMMAS,

             based on Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C. §

             201 et seq. and other Federal Regulations; and

         B. Award Plaintiff PAULINA B. MOODIE actual damages in the amount shown to be

             due for unpaid minimum wages, with interest; and

         C. Award      Plaintiff   PAULINA       B.   MOODIE       an   equal    amount     in   double

             damages/liquidated damages; and

         D. Award Plaintiff PAULINA B. MOODIE reasonable attorneys' fees and costs of suit;

             and

         E. Grant such other and further relief as this Court deems equitable and just and/or

             available pursuant to Federal Law.




                                             Page 11 of 19


                                                                  Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 12 of 21



                                            JURY DEMAND

   Plaintiff PAULINA B. MOODIE and those similarly situated, demand trial by a jury of all issues

   triable as of right by jury.

                                     COUNT II:
                   WAGE AND HOUR FEDERAL STATUTORY VIOLATION;
                   FAILURE TO PAY OVERTIME, AS TO ALL DEFENDANTS

       50. Plaintiff PAULINA B. MOODIE re-adopts every factual allegation as stated in

           paragraphs 1-24 above as if set out in full herein.

       51. This action is brought by Plaintiff PAULINA B. MOODIE and those similarly-situated to

           recover from the Employer unpaid overtime compensation, as well as an additional

           amount as liquidated damages, costs, and reasonable attorney’s fees under the provisions

           of 29 U.S.C. § 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29

           U.S.C. § 207 (a)(1) states, “No employer shall employ any of his employees… for a work

           week longer than 40 hours unless such employee receives compensation for his

           employment in excess of the hours above-specified at a rate not less than one and a half

           times the regular rate at which he is employed.”

       52. Defendant SANTORINI GREEK RESTAURANT was and is engaged in interstate

           commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s)(1)(A).

           The defendant is a retail business operating as Greek restaurant, Defendant catered

           mostly to tourists. The defendant had more than two employees recurrently engaged in

           commerce or in the production of goods for commerce by regularly and recurrently using

           the instrumentalities of interstate commerce to accept and solicit funds from non-Florida

           sources; by using electronic devices to authorize credit card transactions by ordering

           product and supplies produced out of State. Upon information and belief, the annual



                                              Page 12 of 19


                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 13 of 21



        gross revenue of the Employer/Defendant was always in excess of $500,000 per annum.

        By reason of the foregoing, Defendant’s business activities involve those to which the

        Fair Labor Standards Act applies. Therefore, there is FLSA enterprise coverage.

     53. Plaintiff and those similarly situated were employed by an enterprise engaged in

        interstate commerce. Particularly, Plaintiff was a bartender that on regular basis initiated

        and completed credit card transactions, and she handled and worked on goods and

        materials that were produced for commerce and were moved across State lines at any

        time in the course of business. Therefore, there is individual coverage.

     54. Defendants SANTORINI GREEK RESTAURANT and the individual Defendant

        CHRISTOS MAMMAS employed Plaintiff PAULINA B. MOODIE from September 24,

        2018, to June 19, 2019, or 38 weeks.

     55. Plaintiff was hired as a non-exempted, full time, hourly bartender. Plaintiff was a tipped

        employee earning the minimum wage for tipped employees, or $5.23 an hour in 2018,

        and $5.44 an hour in 2019, plus earned tips.

     56. Plaintiff had an irregular schedule and within the 7 months of low season (April, May,

        June, July, August, September, and October), she worked 5 days per week. During the 5

        months of high season (November, December January, February, and March), Plaintiff

        worked 6 days per week.

     57. In low season, Plaintiff worked 5 days per week from Wednesday to Sundays a minimum

        average of 42.5 hours, Plaintiff was unable to take bona fide lunch breaks.

     58. In high season, Plaintiff worked 6 days per week. The plaintiff maintained the same

        schedule, but on Tuesdays she worked 7.5 hours additionally. Plaintiff completed a

        minimum average of 50 hours every week.



                                           Page 13 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 14 of 21



     59. Consequently, during her employment with Defendants Plaintiff worked in low season 16

        weeks with an average of 42.5 hours every week; and in high season 22 weeks with an

        average of 50 hours every week.

     60. Plaintiff was required to work many hours over 40 in a workweek without receiving extra

        payment for overtime hours at the rate of time and a half her regular rate, as required by

        the Fair Labor Standards Act.

     61. Plaintiff was paid for some overtime hours, but she was not paid for all her overtime

        hours.

     62. Moreover, Defendants unlawfully calculated Plaintiff’s overtime rate on the direct

        minimum cash wage, not on the full minimum wage as provided by the FLSA, resulting

        in a lower overtime rate paid.

     63. Thus, Plaintiff is owed the overtime difference for every overtime hour paid to her at the

        incorrect rate, plus full overtime payment for every hour that was not paid to her at any

        rate, not even at the minimum wage rate for tipped employees as required by the Fair

        Labor Standards Act.

     64. Plaintiff was paid bi-weekly with checks and paystubs that most of the weeks reflected

        less than the real number of regular and overtime hours that she worked.

     65. Plaintiff clocked in and out, and Defendants were able to track the real number of hours

        worked by Plaintiff and other similarly situated individuals.

     66. Therefore, Defendants willfully failed to pay Plaintiff for overtime hours at the rate of

        time and a half her regular rate, for every hour that she worked in excess of forty (40), in

        violation of Section 7 (a) of the Fair Labor Standards Act of 1938 (29 U.S.C. 207(a)(1).




                                           Page 14 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 15 of 21



     67. The records, if any, concerning the number of hours worked by the Plaintiff and all other

        employees, and the compensation actually paid to such employees should be in the

        possession and custody of the Defendant. However, upon information and belief,

        Defendant did not maintain accurate and complete time records of hours worked by

        Plaintiff and other employees in the asserted class.

     68. Defendant violated the record keeping requirements of FLSA, 29 CFR Part 516.

     69. Upon information and belief, Defendant never posted any notice, as required by the Fair

        Labor Standards Act and Federal Law, to inform employees of their Federal rights to

        overtime and minimum wage payments. Defendant violated the Posting requirements of

        29 U.S.C. § 516.4.

     70. Plaintiff is not in possession of time and payment records, and she will provide an

        estimate of the overtime hours that she should have received, to the best of her

        knowledge. After completion of discovery, the Plaintiff will adjust her statement of claim

        accordingly. At the time of the filing of this complaint, Plaintiff’s good faith estimate of

        unpaid overtime wages are as follows:

        *Please note that these amounts are based on a preliminary calculation and that the
        amount of O/T paid to Plaintiff will be deducted from this estimate after discovery.

             a. Total amount of alleged unpaid wages:

                Three Thousand One Hundred Ninety-Seven Dollars and 83/100 ($3,197.83)

             b. Calculation of such wages:

                Total number of relevant weeks: 38 weeks

                1.- 2018 Unpaid O/T based on Florida Minimum wage $8.25

                   i.   Low season /From September 24 to October 31, 2018=5 weeks

                        Total relevant weeks: 5 weeks

                                           Page 15 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 16 of 21



                      Total hours worked: 42.5 O/T hours
                      Total O/T hours: 2.5
                      Regular rate: $8.25 x 1.5=$12.38 O/T rate
                      O/T rate: $12.38 an overtime hour

                      $12.38 O/T rate x 2.5 O/T hours=$30.95 weekly x 5 weeks = $154.75

                ii.   High season/From November 01 to December 31, 2018=9 weeks

                      Total relevant weeks: 9 weeks
                      Total hours worked: 50 regular hours
                      Total O/T hours: 10 O/T hours
                      Regular rate: $8.25 x 1.5= $12.38 O/T rate
                      O/T rate: $12.38

                      $12.38 O/T rate x 10 O/T hours=$123.80 weekly x 9 weeks=$1,114.20

               2.- 2019 Unpaid O/T based on Florida Minimum wage $8.46

                 i.   High season from January 01 to March 31, 2019=13 weeks

                      Total relevant weeks: 13 weeks
                      Total hours worked: 50 regular hours
                      Total O/T hours: 10 O/T hours
                      Regular rate: $8.46 x 1.5= $12.69 O/T rate
                      O/T rate: $12.69

                      $12.69 O/T rate x 10 O/T hours=$126.90 weekly x 13 weeks=$1,649.70

                ii.   Low season from April 01 to June 19, 2019=11 weeks

                      Total relevant weeks: 11 weeks
                      Total hours worked: 42.5 regular hours
                      Total O/T hours: 2.5 hours
                      Regular rate: $8.46 x 1.5= $12.69 O/T rate
                      O/T rate: $12.69

                      $12.69 O/T rate x 2.5 O/T hours=$ 25.38 weekly x 11 weeks=$279.18

               Total 1 and 2: $3,197.83

              Nature of wages (e.g. overtime or straight time):

              This amount represents the total unpaid overtime wages.




                                          Page 16 of 19


                                                             Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 17 of 21



     71. At all times material hereto, the Employer/Defendant SANTORINI GREEK

        RESTAURANT failed to comply with Title 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2

        and § 516.4 et seq. in that Plaintiff and those similarly-situated performed services and

        worked in excess of the maximum hours provided by the Act but no provision was made

        by the Defendant to properly pay them at the rate of time and one half for all hours

        worked in excess of forty hours (40) per workweek as provided in said Act. The

        additional persons who may become Plaintiffs in this action are weekly-paid employees

        and/or former employees of Defendant who are and who were subject to the unlawful

        payroll practices and procedures of Defendant and were not paid time and one half of

        their regular rate of pay for all overtime hours and straight time hours worked in excess

        of forty.

     72. Defendant SANTORINI GREEK RESTAURANT, knew and/or showed reckless

        disregard of the provisions of the Act concerning the payment of overtime wages as

        required by the Fair Labor Standards Act and remains owing Plaintiff and those

        similarly-situated these overtime wages since the commencement of Plaintiff and those

        similarly-situated employee’s employment with Defendant as set forth above, and

        Plaintiff and those similarly-situated are entitled to recover double damages.

     73. At the times mentioned individual Defendant CHRISTOS MAMMAS was and is now,

        the manager of SANTORINI GREEK RESTAURANT. Defendant CHRISTOS

        MAMMAS was the employer of Plaintiff and others similarly situated within the

        meaning of Section 3(d) of the “Fair Labor Standards Act” [29 U.S.C. § 203(d)]. This

        individual Defendant acted directly in the interests of the corporation in relation to its

        employees, including Plaintiff and others similarly situated.      Defendant CHRISTOS



                                           Page 17 of 19


                                                               Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 18 of 21



          MAMMAS had financial and operational control of the business, determined Plaintiff’s

          terms and conditions of employment, and is jointly and severally liable for Plaintiff’s

          damages.

      74. Defendants SANTORINI GREEK RESTAURANT, and CHRISTOS MAMMAS

          willfully and intentionally refused to pay Plaintiff overtime wages and minimum wages

          as required by the law of the United States as set forth above and remain owing Plaintiff

          these overtime wages since the commencement of Plaintiff’s employment with Defendant

          SANTORINI GREEK RESTAURANT, as set forth above.

      75. Plaintiff has retained the law offices of the undersigned attorney to represent her in this

          action and is obligated to pay a reasonable attorneys’ fee.

                                        PRAYER FOR RELIEF

   WHEREFORE, Plaintiff PAULINA B. MOODIE and those similarly situated respectfully

   request that this Honorable Court:

          A. Enter judgment for Plaintiff and other similarly situated and against the Defendants

              SANTORINI GREEK RESTAURANT, and CHRISTOS MAMMAS, based on

              Defendants’ willful violations of the Fair Labor Standards Act, 29 U.S.C. § 201 et

              seq.; and

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid overtime

              compensation for hours worked in excess of forty weekly, with interest; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorneys' fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just and/or

              available pursuant to Federal Law.



                                             Page 18 of 19


                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 19 of 21



                                        JURY DEMAND

   Plaintiff PAULINA B. MOODIE and those similarly situated demand trial by jury of all issues

   triable as of right by jury.

   Dated: September 24, 2019

                                             Respectfully submitted,


                                             By: _/s/ Zandro E. Palma___
                                             ZANDRO E. PALMA, P.A.
                                             Florida Bar No.: 0024031
                                             9100 S. Dadeland Blvd.
                                             Suite 1500
                                             Miami, FL 33157
                                             Telephone: (305) 446-1500
                                             Facsimile:     (305) 446-1502
                                             E-mail: zep@thepalmalawgroup.com
                                             Attorney for Plaintiff




                                          Page 19 of 19


                                                             Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 20 of 21



                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION

                                               CASE NO.:

   PAULINA B. MOODIE,
   and other similarly situated individuals,

          Plaintiff(s),
   v.

   NOAH RESTAURANT LLC,
   d/b/a SANTORINI GREEK RESTAURANT
   and CHRISTOS MAMMAS, individually,

         Defendants,
   ____________________________________/

                                 VERIFICATION OF COMPLAINT

          The undersigned, for herself, declares:

   I am the Plaintiff in the above-styled action. I have read the forgoing complaint consisting of 19

   pages and I know the contents thereof. With respect to the causes of action alleged by me, the

   same is true by my own knowledge, except as to those matters which are therein stated on

   information and belief, and, as to those matters, I believe them to be true. I have reviewed this

   document and have had it translated to me from English to Spanish.

          Pursuant to 28 U.S.C. Section 1746, I declare under penalty of perjury that the forgoing is

   true and correct.


           09 / 25 / 2019
   Date: _____________________________


   Signature__________________________
            PAULINA B. MOODIE




                                                                 Doc ID: 02789e05cc6174e113427fddb8df89b8bfd361e0
Case 1:19-cv-23991-KMM Document 1 Entered on FLSD Docket 09/26/2019 Page 21 of 21

                                                                             Audit Trail

TITLE                          REVISED COMPLAINT

FILE NAME                      MOODIE PAULINA - ...plaint 092419.pdf

DOCUMENT ID                    02789e05cc6174e113427fddb8df89b8bfd361e0

STATUS                           Completed




              09 / 25 / 2019   Sent for signature to Paulina B. Moodie
              09:57:41 UTC-5   (paulinamoodie@gmail.com) from svelez@thepalmalawgroup.com
                               IP: 73.0.216.26




              09 / 25 / 2019   Viewed by Paulina B. Moodie (paulinamoodie@gmail.com)
              12:50:19 UTC-5   IP: 172.58.15.109




              09 / 25 / 2019   Signed by Paulina B. Moodie (paulinamoodie@gmail.com)
              12:50:50 UTC-5   IP: 172.58.15.109




              09 / 25 / 2019   The document has been completed.
              12:50:50 UTC-5
